Case 23-40709 Doc 647 Filed 04/16/25 Entered 04/16/25 11:55:29 Desc Main
Document Pageiofi

UNITED STATES BANKRUPTCY COURT
DISTRICT OF MASSACHUSETTS

In re:
Westborough SPE LLC Chapter 7
Debtor(s) 23-40709-CJP
PROCEEDING MEMORANDUM AND ORDER
MATTER:

Hybrid Hearing on #623 Motion filed by Creditor Lolonyon Akouete to Set Deadline for Trustee to
Determine Whether to Pursue Relief In Land Court to Vacate Foreclosure Judgment.

Decision set forth more fully as follows:

FOR THE REASONS STATED ON THE RECORD, THE MOTION IS DENIED.

Dated: 04/16/2025 By the Court,

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Christopher J. Panos
United States Bankruptcy Judge
